     Fill in this information to identify the case:

     Debtor 1 JASON ROBERT ADAMS aka Jason Adams aka Jason R. Adams
     Debtor 2      AUTUMN ELIZABETH ADAMS aka Autumn Adams aka Autumn E. Adams
     fka Autumn Sikora fka Autumn E. Sikora fka Autumn Elizabeth Sikora
     (Spouse, if filing)

     United States Bankruptcy Court for the: Middle District of Pennsylvania
     Case number 5:22-bk-01829-MJC



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                     12/15

 If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                                Court claim no. (if known): 12

  Last four digits of any number you           3522                            Date of payment change:                    11/01/2023
  use to identify the debtor’s account:                                        Must be at least 21 days after date of
                                                                               this notice

                                                                               New total payment:                        $663.67
                                                                               Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non bankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 165.39             New escrow payment:         $ 170.78

  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non bankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                               %              New interest rate:                             %

               Current principal and interest payment: $ _________               New principal and interest payment: $ __


  Part 3: Other Payment Change

     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
            modification agreement. (Court approval may be required before the payment change can take effect.)

               Reason for change:


               Current mortgage payment: $                         New mortgage payment: $




Official Form 410S1                           Notice of Mortgage Payment Change                                               page 1

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                                            Main Document   Page 1 of 8
   Debtor1 JASON ROBERT ADAMS aka Jason Adams aka                     Case number (if known) 5:22-bk-01829-MJC
   Jason R. Adams
             First Name           Middle Name        Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Mario Hanyon
       Signature
                                                                                     Date 10/09/2023



   Print: Mario Hanyon (203993)
         First Name           Middle Name            Last Name                       Title Attorney



   Company Brock & Scott, PLLC

            Address 3825 Forrestgate Dr.
            Number                     Street


            Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                        Email PABKR@brockandscott.com




Official Form 410S1                                Notice of Mortgage Payment Change                                 page 2

Case 5:22-bk-01829-MJC                            Doc Filed 10/10/23 Entered 10/10/23 13:34:26                       Desc
                                                  Main Document   Page 2 of 8
                                IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                            Wilkes-Barre Division


 IN RE:
 JASON ROBERT ADAMS aka Jason Adams aka Jason R. Adams           Case No. 5:22-bk-01829-MJC
 AND AUTUMN ELIZABETH ADAMS aka Autumn Adams aka
 Autumn E. Adams fka Autumn Sikora fka Autumn E. Sikora fka
 Autumn Elizabeth Sikora
                                                                 Chapter 13
 Freedom Mortgage Corporation,
          Movant

 vs.

 JASON ROBERT ADAMS aka Jason Adams aka Jason R. Adams
 AND AUTUMN ELIZABETH ADAMS aka Autumn Adams aka
 Autumn E. Adams fka Autumn Sikora fka Autumn E. Sikora fka
 Autumn Elizabeth Sikora,
        Debtors




                                            CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of Mortgage Payment Change
has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

Jason Paul Provinzano, Debtor's Attorney
16 W. Northampton Street
Wilkes Barre, PA 18701
MyLawyer@JPPLaw.com


Jack N Zaharopoulos, Bankruptcy Trustee
(Trustee)
8125 Adams Drive, Suite A
Hummelstown, PA 17036

United States Trustee, US Trustee
US Courthouse
1501 N. 6th St
Harrisburg, PA 17102


Via First Class Mail:

JASON ROBERT ADAMS
1271 HUNLOCK HARVEYVILLE RD
HUNTINGTON MILLS, PA 18622-1117

AUTUMN ELIZABETH ADAMS
1271 HUNLOCK HARVEYVILLE RD
HUNTINGTON MILLS, PA 18622-1117




Case 5:22-bk-01829-MJC               Doc Filed 10/10/23 Entered 10/10/23 13:34:26                          Desc
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Date: October 9, 2023
                                   /s/Mario Hanyon
                                   Andrew Spivack, PA Bar No. 84439
                                   Matthew Fissel, PA Bar No. 314567
                                   Mario Hanyon, PA Bar No. 203993
                                   Ryan Starks, PA Bar No. 330002
                                   Jay Jones, PA Bar No. 86657
                                   Attorney for Creditor
                                   BROCK & SCOTT, PLLC
                                   3825 Forrestgate Drive
                                   Winston Salem, NC 27103
                                   Telephone: (844) 856-6646
                                   Facsimile: (704) 369-0760
                                   E-Mail: PABKR@brockandscott.com




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